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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

Michael James Roberts,                  )
            Plaintiff,                  )
                                        )     No. 1:18-cv-1244
-v-                                     )
                                        )     HONORABLE PAUL L. MALONEY
Kalamazoo County Government,            )
           Defendant.                   )
                                        )

                                    JUDGMENT

      In accordance with the Court’s Order entered on this date, and pursuant to Fed. R.

Civ. P. 58, JUDGMENT hereby enters.

      IT IS SO ORDERED.

Date: March 15, 2019                                        /s/ Paul L. Maloney
                                                            Paul L. Maloney
                                                            United States District Judge
